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UNITED STATES DISTRICT COURT ln.c‘ g ` nn
wEsTERN DIsTRICT oF TENNESSEE ‘ ‘- “
EASTERN DIVISION

DAYTHAN HOUSER,

 

Plaintiff,

vs. Civil Action No.: 1:03-1227- B/P

CORRECTIONS CORPORATION
OF AMERICA, et al,.

WH-/\_"\_/\_/W\_i\_/\_/\_¢

Defendants.

 

AGREED ORDER OF DISMISSAL WITH PRE.IUDICE

 

All matters between the parties having been fully resolved and all parties being in
agreement that this cause should be dismissed in its entirety, with full prejudice, the
Court therefore finds that this cause should be dismissed, with full prejudice and,
accordingly:

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that this
cause be, and the same is hereby, dismissed against the Defendants, Corrections
Corporation of America, Doctor Crants, Prison Realty Trust, lne., Correctional
Managenient Services Corporation, Prison Realty Managernent, Inc., and Prison
Manageinent Services, lnc., with prejudice as an adjudication upon the merits, and it, is,

FURTHER, ORDERED, ADJUDGED AND DECREED that costs of this cause,
including filing fees, will be paid by Plaintiff and no discretionary costs, bill of cost,
expenses or any attorney fees, either by statute or contract, will be applied for or awarded by

either party.

This document entered on the docket sheet in compliance
with mile ea and,'or_re (a) Faor-> en 07 ‘ 05 'Q,§

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§`D
Dated: this / dayof ,2005.

t
J. DANIEL BREEN\
U ITE sTATEs DISTRICT JUDGE

 

APPROVED FOR ENTRY:

“@MM @96{511>~/ /AW%/

 

 

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CERTIFICATE OF SERVICE

I certify that a copy of the foregoing has been served by U.S. mail upon Wayne
A. Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126,

Knoxville, TN 37901~1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300,
Coiumbia, sc 29201 en tunc 23 ,2005.

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%%w» @>¢Z/M

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Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case l:03-CV-01227 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

